     Case 1:18-cr-00025-JPJ-PMS Document 892 Filed 01/16/20 Page 1 of 7 Pageid#: 12462
 AO2458    (Rev.09/19-VAW Additionsû5/17)JudgmentinaCrimi
            Sh                                          nalCas:                                                  ctEqK'
                                                                                                                      soFjqc:as.osyajc.rcouFc
              ed 1                                                                                                      ATA
                                                                                                                                  D

                                     UNITED STATES DISTRICT COURT                                                    jAs 15 2929
                                                 W estern D istrictofV irginia                                      pL. o             ..,
          UNITED STATES0FAM ERICA
                                                                                                 v.n k (u/14.
                                                                     JUDGM ENT IN A CRIM INAL CASE
                           V.                                        caseNum ber: DvAw 118CR000025-015
             'rBltRy M ELVIN oxtlox                                  casex um ber:
                                                                     u sM N um ber: 22340-084
                                                                     Jeffrey Campbell
                                                                     Defendant'sAttorney
THE DEFENDANT:
ixlpleadedguiltytocountls) 1,7 and8oftheIndictm ent
Z pleadednolocontenderetocountts)
   whichwasacceptedby thecourt.
E1wasfoundguiltyoncountls)
   afterapleaofnotguilty,

Thedefendantisadjtldicatedguiltyoftheseoffenses:
  Title & Section             N ature ofOffense                                                     O ffense Ended                Count
21USC Sections846 ConspiracytoDistribute500GramsorM oreofM ethamphetamine                                10/23/18
and841(b)(1)(A)
21USC Sections841 Distribution ofM etham phetam ine                                                      3/23/17
(a)(1)& 841(b)(1)(C)
21USC Sections841 Distribution ofM ethamphetam ine                                                       4/26/17
(a)(1)& 841(b)(1)(C)
       Thedefendantissentencedasprovidedinpages2through                     7      ofthisjudgment.Thesentenceisimposedpursuantto
theSentencingReform Actof1984.
Z Thedefendanthasbeenfoundnotguiltyoncountts)
Z Ccuntts)                                  Z is Z aredismissedonthemotionoftheUnitedStates.
     iliItisorderedthatthedefendyntmustnotifytheUnitedSttesattorpeyforthisdiltrlctwithin30daysofpnychangeofnamesresidepce
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    defenja
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            dmu
             resstunno
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                                                                                                             .c
                                                                                                              yes
                                                                                                                pald.Iforderedtopayrestitutlon,
                                                                     January 16,2020
                                                                     DateofIm positionofJudgment                              .


                                                                     Signature Judge



                                                                     Jam esP.Jones,United StatesDistrictJudge
                                                                     NameandTitleofJudge                                      J

                                                                                / /J Z D
                                                                     Date
      Case 1:18-cr-00025-JPJ-PMS Document 892 Filed 01/16/20 Page 2 of 7 Pageid#: 12463
AO2458     (Rev.29/19-VAW Additions05/17)JudgmentinCrimi
                                                       nal
           CaseSheet2 -Imprisomnen
                                 .t
                                  -                                              . .- -


                                                                                                Judgm ent-Page   2       of   7
D EFEN DAN T :      TERRY M ELVIN DALTON
CA SE NU M BER :DVAW 118CR000025-015

                                                            IM PRISO NM ENT

        Thedefendantishereby comm ittedtothecustody oftheFederalBureau ofPrisonstobeimprisoned foratotalterm of:

    OneHundredandTwenty(120)months.Thisterm consistsof120monthsoneachofCounts1,7and8,tonm concurrently.This
    tenn ofim prisonmentshallnm retroactively concurrentwiththependingchargesin Sullivan County,TN andW ashingtonCounty,
    TN.and described in paragraphs352 and 356 ofthepre-sentencereport.


    X ThecourtmakesthefollowingrecommendationstotheBureauofPrisons:
    ThatthedefendantreceiveresidentialsubstanceabusetreatmentIlkDAPIpursuanttotheprovisionsof18U.S.C.j3621(b).
    ThatthedefendantbedesignatedtotheLexington,K entuckyfacility,inordertofacilitatevisitsby fam ilym embers.

    F'
     xl Thedefendantisremandedtothecustody oftheUnitedStatesM arshal.
    I-I ThedefendantshallsurrendertotheUnitedStatesMarshalforthisdistrict:
        r-1 at                                 El a.m. r---l pom .
        r-I asnotifiedbytheUnitedStatesM arshal.

    Z ThedefendantshallsurrenderforserviceofsentenceattheinstitutiondesignatedbytheBureauofPrisons:
      IZI before         on                             -



      EI asnotifiedbytheUnitedstatesMarshal.
      (Z asnotifiedbytheProbationorPretrialServicesOffice.

                                                               RETURN
Ihaveexeiutedthisjudgmentasfollows:




        Defendantdelivered on                                                    to                                  '
a                                                ,   withacertifiedcopyofthisjudgment.


                                                                                             UNITED STATESMARSHAL !
                                                                                                                     l
                                                                     By
                                                                                          DEPUTY UNITED STATESMARSHAL
     Case 1:18-cr-00025-JPJ-PMS Document 892 Filed 01/16/20 Page 3 of 7 Pageid#: 12464


A02458 (Rev.09/19-VAW Additions05/17)JudgmentinaCrimi
                                                    nalCase
         Sheet3- SupervisedRelease
                                                                                         Judgment-page   3   of       7
DEFENDANT:       TERRY M ELVIN DALTON
CASE NUM BER:DVAW 118CR000025-015
                                               SUPERYISED RELEASE
Uponreleasefrom imprisonm ent,youwillbeonsupervisedreleaseforaterm of:
Five(5)years.Thisterm consistsof5yearsoneachofCounts1,7and8,al1suchtermstorunconcurrently.




                                            M ANDATO RY CON DITIONS
     Youmustnotcommitanotherfederal,stateorlocalcrime.
     Z Youmustmakerestitutioninaccordancewithsections3663and3663A,oranyotherstatuteauthorizingasentençeof
       restitution.(checkçapplicable)                                                                        i
     Youmustnotunlawfullypossessacontrolled substance.                                                       i
                                                                                                             i
     Youmustrefrainfrom anyunlawfuluseofacontrolledsubstance.Youmustsubmittoonedrugtestwithin15dayspfreleasefrom
     i
      mprisonm entandatleasttwoperiodicdrugteststhereafter,asdeterm ined bythecourt.
            EEITheabovedrtlgtestingconditionissuspended,basedonthecourt'
                                                                       sdetenuinationthatyou
               posealow riskoffuturesubstanceabuse.(checkçapplicable)           '
     EEIYoumustcooperateinthecollectionofDNA asdirectedbytheprobationofficer.(checkçapplicabl
                                                                                            e)
     EI11YoumustcomplywiththerequirementsoftheSexOffenderRegistrationandNotificationAct(34U.S.C.j20901,etseq.jas
        directedby theprobationoftker,theBureatlofPrisons,orany statesex offenderregistrationagency inwhichyotireside,work,
        areastudent,orwereconvicted ofaqualifpngoffense.(checkêapplicable)
     Z Youmustparticipateinanapprovedprogram fordomesticviolence.(checkêapplicable)
Youmus!comply withthestandardconditionsthathavebeen adoptedbythiscourtaswellaswithanyotherconditionsontheattached
Page.
     Case 1:18-cr-00025-JPJ-PMS Document 892 Filed 01/16/20 Page 4 of 7 Pageid#: 12465

AO2458    (Rev.09/19-VAW Additions05/17)JudgmentinaCriminalCase
          Sheet3A - SupervisedRelcase
                                                                                           Judgment-page    4    of       7
 DEFENDANT:       TERRY M ELVW DALTON
 CASE NUM BER:DVAW 118CR000025-015
                                  STANDARD CO NDITION S OF SUPER W SION

Aspartofyoursupervisedrelease,youm ustcomply withthefollow,ingstandardconditionsofsupervision.Theseconditionsareimposed
becausetheytstablishthebasicexpectationsforyourbehaviorwhileonsupervisionand identify theminimum toolsneeded by probation
officerstokeep infonned,reporttothecourtabout,andbring aboutim provem entsinyourconductand condition.
     Youmustreporttotheprobationofficeinthefederaljudicialdistrictwhereyouareauthorizedtoresidewithin72hoursofyour
     releasefrom im prisonment,unlesstheprobationoffkerinstructsyoutorepol
                                                                         'ttoadifferentprobationofficeorwithin à,differenttim e
     Afterinitiallyreportingtotheprobationoffice,youwillreceiveinstructionsfrom thecourtortheprobationofficerabouthow and
     whenyoum ustreporttotheprobationofficer,andyoum ustreporttotheprobation officerasinstructed.
     Youmustnotknowinglyleavethefederaljudicialdistrictwhereyouareauthorizedtoresidewithoutfirstgettingpennissionfrom the
     courtortheprobationofficer.
     You m ustanswertl-uthfully the questionsasked by yourprobation officer.
     Youmustliveataplaceapprovedbytheprobationofficer.Ifyouplantochangewhereyouliveoranythingaboutyourliving
     an'
       angements(such asthepeopleyoulivewith),youmustnotlfythegrobationofficeratleast10 daysbeforethechange.lfnotifying
     theprobationofficerin advanceisnotpossibleduetounanticipatedclrcumstances,you mustnotifytheprobationofficerwithin 72
     hoursofbecoming awareofachangeorexgectedchange.
     Youm ustallow theprobationofticertovisltyouatanytimeatyourhomeorelsewhere,andyoum ustperm ittheprobation offcerto
     takeanyitem sprohibitedby theconditionsofyoursupervisionthatheorsheobservesinplain view .
     Youmustworkfulltime(atleast30hoursperweek)atalawfultypeofemployment,unlesstheprobationofficerexcusesyoufrom
     doingso.lfyoudonothavefull-timeemploymentyou musttly tofindfull-timeemployment,unlesstheyrobation officerexcuses
     youfrom doingso.Ifyouplantochangewhereyouworkoranythingaboutyourwork(suchasyourpositlonoryourjob
     responsibilities),youmustnotifytheprobationofficeratleast10daysbeforethechange.lfnotifyingtheprobationofficeratleast10
    daysin advanceisnotpossibledueto unanticipatedcircum stances,youm ustnotify theprobationofficerwithin 72 hoursof
    becoming awareofachangeorexpectedchange.
s. Youmustnotcommunicateorinteractwithsomeoneyouknow isengagedincriminalactivity.lfyouknow someonehasbeen
    convictedofafelony,youm ustnotknow inglycommunicateorinteractwiththatpersonwithoutfirstgettingthepermissionofthe
    probation ofûcer.
9. lfyouarearrestedorquestionedbya1aw enforcementoftker,yopmustnotifz theprobationofficerwithin72hgurs.
10. Youm ustnotown,possess,orhave accessto afirearm ,amm unitlon,destructlvedevice,ordangerousweapon(1.e.,anythingthatwas
     designed,orwasmodifiedfor,thespecificgurposeofcausingbodilyinjuryordeathtoanotherpersonsuchasnunchakusortasers).
11. Youm ustnotactorm akeany agreem entwlth a1aw enforcelnentagencytoactasaconfidentialhum an sourceorinfonnantwithout
    tirstgetting thepermission ofthe court.
12. lftheprobation officerdeterm inesthatyouposearisktoanotherperson(includinganorganization),theprobationofficermay
    requireyoutonotifythepersonabouttheriskandyoum ustcomplywiththatinstruction.Theprobationofficerm aycontactthe
    person andconfirm thatyouhavenotifiedthepersonabouttherisk.
13. Youm ustfollow theinstructionsoftheprobationofficerrelatedtotheconditionsofsupervision.


U.S.Probation O ffice Use Only
A U.S.probationofficerhu instructed meontheconditionsspecifiedbythecourtandhasprovidedm ew ithawritten copy ofthis
judgmentcontainingtheseconditions.Forfurtherinformationregardingtheseconditions,seeOvelwiew ofprobationandsupervised
ReleaseConditions,availableat:www.uscotmts.gov.                                                                 '

D efendant'sSignature                                                                      Date
     Case 1:18-cr-00025-JPJ-PMS Document 892 Filed 01/16/20 Page 5 of 7 Pageid#: 12466
 AO 2458   (Rev.09/19-VAW Additi
                               ons05/17)Judgmenti
                                                naCriminalCase
           Sheet317-SupervisedRelease
                                                                       .    . --.L
                                                                                 --ZF'-------         '   -          .

                                                                                                Judgment-page   5   of    7
 D EFEND ANT :    , TERRY M ELVIN DALTON
 CASE N UM BER:DVAW I18CR000025-015
                                    SPECIAL CO ND ITIONS OF SU PERW SION
W hileon supervisedrelease,thedefendant:

(1)Mustpayanymonetarypenaltythatisimposedbythisjudgmentinthemannerdirectedbythecourt;
(2)Mustresideinaresidencefreeoffireanns,ammunition,destnzctivedevices,anddangerousweapons;
(3)Followingreleasefrom imprisonment,thecourtwillevaiuatedefendant'sstatusanddetenuinewhether,aherincarceration,dnlg
rehabilitationisnecessaryand appropriate.Ifadditionalrehabilitationisdeem edappropriate,thedefendantmustparticipateinaprogram as
designatedbythecourt,upon consultationwith theprobationofticer,untilsuchtimeasthedefendanthassatisfieda11thercquirementsofthe
program ;and

(4)Mustsubmithisorherperson,property,house,residence,vehicle,papers,(computersasdefinedin18U.S.C.Section1030(e)(1),other
electroniccommunicationsordatastoragedevicesormedial,oroffice,toasearchconductedbyaUnitedStatesprobationofficer.Failureto
submittoasearchmaybegroundsforrevocationofrelease.Thedefendantshallwal'  nanyotheroccupantsthatthepremisesmaybcsubject
tosearchespursuanttothiscondition.Anofticerm ayconductasearchpursuanttothisconditiononlywhenreasonablesuspicionexiststhat
thedefendanthasviolatedacondition ofhisorhersupervisionandthattheareastobesearchedcontainevidenceofthisviolation.
     Case 1:18-cr-00025-JPJ-PMS Document 892 Filed 01/16/20 Page 6 of 7 Pageid#: 12467
AO 2458   (Rev.09/19-VAW Additi
                              ons05/17)JudgmcntinaCriminalCase
          Sheet5-CriminalMonetaryPenaltics
                                                                                         Judgment-page    6    of        7
DEFENDANT:      TERRY M ELVIN DA LTON
CASE     ER:DVAW 118CR000025-015
                                          CRTM IN AI,M O NETM W PEN ALTIES
    Thedefendantmustpay thetotalcrim inalm onetary penaltiesunderthescheduleofpaym entson Sheet6.
                                                                                                                 t

             Assessm ent                 Restitution                 Fine         AVAA Assessm ente        JVTA Assssm entA*
 TOTALS $ 300.00                     $                           $            $                          $     '


F-l Thedeterminationofrestitutionisdeferreduntil               .AnAmendedxhldgmentinaCriminalCase(AO 245C)willbeentered
     aftersuch determ ination.

!-1 Thedefendantmustmakerestitution(includingcommunityrestitution)tothefollowingpayeesintheamountlistedbelow.
     lfthedefendantm akesapartialpaym ent,eachpayeeshallreceiveanapproxim ately proportionedpayment,ttnlessspecitied otherwise
     inthepriorityorderorpercentagepaymentcolumnbelow.However,pursuantto18U.S.
                                                                             C j3664(i),a1lnonfederalvictimsmustbe
     paid before the United Statesispaid.
 Name ofPayee                                          TotalLossW?r         Restitution O rdered         Priority orPercentage




 TOTALS


EEI Restitutionamountorderedpursuanttopleaagreement$
     Thedefendantmustpay intereston restitution anda5neofmorethan $2,500,unlesstherestitutionorfineispaid infullbeforethe
     fifteenthdayaherthedateofthejudgment,pursuantto1sU.S.C.j3612(9.A1lofthepaymentoptionsonSheet6maybesubject
     topenaltiesfordelinquencyanddefault,pursuantto 18U.S.C.j3612(g).

Z    Thecourtdetenninedthatthedefendantdoesnothavetheabilitytopayinterestanditisorderedthat:
     I
     Z theinterestrequirementiswaivedforthe EEI tine EEIrestitutîon.
     (EI theinterestrequirementforthe EEI fine Z restitutionismodifiedasfollows:

  * Am y,V icky,and Andy Child Pornography Victim Assistance Actof20l8,Pub.L.No.ll5-299.
  **JusticeforVictim sofTraffickingActof2015,Pub.L.No.l14-22.
  #**FindingsforthetotalamountoflossesarerequiredunderChapters109A,110,lIOA ,and 113A ofTitle 18foroflknsescomm itted
  onorafterSeptemberl3,1994,butbeforeApril23,1996.
         Case 1:18-cr-00025-JPJ-PMS Document 892 Filed 01/16/20 Page 7 of 7 Pageid#: 12468
AO 2458        (Rev.09/19-VAW Additions05/17)JudgmentinaCriminalCase
               Sheet6 -ScheduleofPaymtnts                                                                            '

    DEFENDANT:                TERRY M ELVIN DALTON                                                     Judgm ent-Page 7 of 7
    CASE NUM BER:DVAW I18CR000025-015
                                                   SC H ED UL E O F PA YM EN TS
Havingassessed thedefendant'sabilitytopay,thetotalcrim inalmonetarypenaltiesaredueimm ediately andpayableasfolldws:
A Zx Lumpsum paymentof$300.00            immediately,balancepayable
        I
        Z notlaterthan                        ,or
        E(
         (1 inaccordancewith I Z C, EElD, EqlE, Z F or,IZ Gbelow);or
BI Z Paymenttobeginimmediately(maybecombinedwith EqlC, I   Z D, Z F,or Z G below);or
     Paymentinequal                        (e.g.,weekly,monthly,quarterly)installmentsof$                 overaperiodof
                  (e.g.,monthsoryears),tocommence                      (e.g.,30or60days)afterthedateofthisjudgment;or
oI
 --l Paymentinequal                        (e.g.,weekly,monthly,quarterly)installmentsof$                 overaperiodof
                  (e.g.,monthsoryears),tocommence                      (e.g.,30or60days)afterreleasefrom ilprisonmenttoa
           tenn ofsupervision;or
EI
 --I Paymentduringtheterm ofsupervisedreleasewillcommencewithin                              (e.g.,30or60days)afterreleasefrom
           im prisonm ent.Thecourtw illsetthepaym entplan basedonanassessmentofthedefendant'
                                                                                           sabilitytopay atthattim e;or
F r'
   -I Duringtheterm ofimprisonment,paymentinequal                              (e.g.,weekly,monthly,quarterly)installmentsof
           $                   ,or          % ofthedefendant'sincome,whicheveris. greater
                                                                                    =tocommence                   (e.g.,30or
           60days)afterthedateofthisjudgment;A'
                                              ND paymentinequal                      (e.g.,weekly,monthly,quarterly)
           instalhnentsof$               duringtheterm ofsupervisedrelease,tocommence                     (e.g.?
                                                                                                               '30or60days)
           afterrelease fm m im prisonment.                                                                          r
           Specialinstructionsregardingthepaym entofcrim inalmonetarypenalties:                                      E


'

AnyinstallmentscheduleshallnotprecludeenforcementoftherestitutionorfineorderbyiheUnitedStatesunder18U.S.C jj3613 and
3664(n9.
Anyinstallmentscheduleissubjecttoadjustmentbythecourtatanytimeduringtheperiodofimprisonmentorsupervision,pndthedefendant
shallnotify theprobation officerandtheU.S.Attorneyofany changeinthedefendant'seconom iccircumstancesthatm ayaffectthe
defendant'sabilitytopay.                                                                                              '
                                                                                                              ;
A11criminalmonetarypenaltiesshallbemadepayabletotheClerk,U .S.DistrictCourt,210FranklinRd.,Suite540,Roanoke,V irginia24011,
fordisbursem ent.                                                                                             !
                                                                                                                     ;
Thedefendantshallreceivecreditfora11paym entspreviously madetowardanycrim inalm onetarypenaltiesim posed.           .
Anyobligationtopayrestitt
                        ztionisjointandseveralwithotherdefendants,ifany,againstwhom anorderofrestitutionhasbeenorwillbe
entered.
     !
     -1JointandSeveral
        DefendantandCo-DefendantNamesandCaseNumbers(includingdefendantnumber),TotalAmount,JointandSeveralAmount,and
         correspondingpayee,ifappropriate.




     Z Thedefendantshallpaythecostofprosecution.
     Z Thcdefendantshallpaythefollowingcourtcostts):
     I
     --IThedefendantshallforfeitthedefendant'sinterestinthefollowingpropertytotheUnitedStates:



     Paymentsshallbeappliedinthefollowingorder:(1)assessment,(2)restitutionprincipal,(3)restimtioninterest,(4)AVAA assessment,
     (5)fineprincipal,(6)fineinterest,(7)communityrestitution,(s)JVTA assessment,(9)penalties,and(10)costs,includingcostof
     prosecution and courtcosts.
